                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:11-00194
                                                   )       JUDGE CAMPBELL
JERMAINE JACKSON                                   )

                                           ORDER

       Pending before the Court is Defendant Jermaine L. Jackson’s Motion to Clarify Counsel’s

Availability for Re-Scheduled Status Conference (Docket No. 553).

       In light of Order (Docket No. 551) cancelling the status conference, the Motion is moot.

       It is so ORDERED.

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                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




 Case 3:11-cr-00194       Document 554       Filed 08/01/12     Page 1 of 1 PageID #: 1475
